MONROE WASHER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Washer v. CommissionerDocket No. 31323.United States Board of Tax Appeals19 B.T.A. 583; 1930 BTA LEXIS 2374; April 15, 1930, Promulgated *2374  Loss claimed disallowed on account of insufficient evidence.  Joseph H. Kraus, C.P.A., and Harold R. Lhowe, Esq., for the petitioner.  T. M. Mather, Esq., for the respondent.  SEAWELL*583  This proceeding involves a deficiency in income tax as determined by the Commissioner for 1924 in the amount of $1,465.42 and has for its only issue the deductibility of a certain loss alleged to have been sustained by the petitioner in dealing in foreign exchange.  FINDINGS OF FACT.  The petitioner is an individual who has an office in New York City and during 1924 was president of John Thallon &amp; Co., a New York corporation.  On December 31, 1924, the following journal entry was made on the books of John Thallon &amp; Co.: M. Washer$13,633.79To Exchange a/c$13,633.79(Loss on sterling Exchange during 1924 as per minutes Board of Directors) The foregoing charge to the petitioner was appropriately posted in the ledger account of petitioner on the books of John Thallon &amp; Co.  The petitioner claimed the foregoing amount of $13,633.79 as a deduction in his income-tax return for 1924, but upon an examination by a revenue agent*2375  the deduction claimed was recommended for disallowance with the explanation: "Loss on exchange Transaction on corporation account disallowed as an Individual deduction." The report of the revenue agent was approved by the Commissioner, which gives rise to the deficiency here in question.  OPINION.  SEAWELL: We agree with the petitioner that losses are deductible in the year when sustained, but it is also true that in order to be entitled to such deduction it must first be shown that a loss has been sustained in the year for which the loss is claimed.  The Commissioner disallowed the loss here claimed and his findings are prima facie correct.  The burden then rested on the petitioner of *584  showing that a loss had been sustained which is allowable as a deduction.  We do not think this burden is met by a mere showing that an entry was made on the books of a corporation of which he was president, charging him with a loss on a given transaction.  Cf. , affirming *2376 , where a deduction similar to the one here claimed was disallowed for lack of proof in a case involving this same taxpayer for 1923. Judgment will be entered for the respondent.